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                                    UNITED STATES BANKRUPTCY COURT

                                  SOUTHERN DISTRICT OF OHIO (DAYTON}
    INRE:
                                                          *                         CASE NO. 19•30822
    TAGNETICS INC.                                        *                         CHAPT ER 7
    INVOLUNTARY DEBTOR                                    *
     RESPONSE TO TAGNETICS APPLICATION FOR ATTORNEY
                                                                               FEES AS COMPENSATORY
                                                    DAMAGES
                        FROM: Jonathan Hager, Kenneth Kayser, and Ronald Earley                   C
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   We have received Tagnetics · Application/or Attorneys· Fees as Compen
                                                                              .saJory Damages ~E-No. 134]
   pursuant to the Court's October 25, 2019 Order. The application includes
   estimated hours accrued by Tagnetics Counsel to file a Molion to Enforce
                                                                                an itemized acco ~J for        ~
                                                                                Settlement Agree ~~,)~ . I';?
   No. IO I] and their time allotted to preparation and attendance of the Evident
                                                                                  iary Hearing and su~qu ent c..::>
   Oral Decision by the Court. Tagnetics has claimed these fees as compensatory
                                                                                     damages due to tlreipro se x;-
   party's disagreement that the draft Settlement Agreement they received did
                                                                                 not represent the terms and
   conditions that were agreed to on July 26, 2019.
   Tagnetics claims that the prose parties. Hager, Kayser. and Earley. breache
                                                                                 d Tagnetics' proposed
   settlement agreement stating that the draft Settlement Agreement receive
                                                                             d via email on August I 4 th
   represented the settlement terms as stated in the email from Stem on July
                                                                              26 at 3:27 pm. Counsel for
   Tagnetics testified under oath in the Evidentiary hearing that the tenns put
                                                                                forth in the July 26 email
   represented the entire terms and conditions of the settlement. The court•s
                                                                               Order Granling in Part
   Tagnetics 'Motion to Enforce Settlement Agreement [Doc No. 119] was based
                                                                                    on and agreed with that
   assertion.
    Tagnetics has subsequently filed an Appeal to the Court's Order seeking
                                                                               additional tenns to be added to
    the settlement. In Tagnetics' Application for Attorneys· Fees as Compensatory
                                                                                      Damages [Doc No. 134]
   they stated the purpose of the appeal primarily is to add a material tenn to
                                                                                the settlement. This action
   contradicts Mr. Stem's sworn testimony that the email of July 26 include
                                                                              d the entire terms and conditions
   of the settlement. Tagnet ics' requesting items be added to the settlement
                                                                              is no different than the prose
   parties requesting that tenns provided in the July 20 email from Dr. Kayser
                                                                                  be added to the settlement.
   Clearly there are genuine issues in dispute regarding the settlement. If compen
                                                                                     satory damages are
   awarded due to the losses incurred from negligence of the opposing party,
                                                                                in this case the failure to
   include terms and conditions in the agreed settlement of July 26, then both
                                                                                 parties are at fault for this
  negligence. Tagnetics did not make a reasonable effort to negotiate the draft
                                                                                   settlement agreement before
  spending extensive time and money drafting a Motion to Enforce Settlem
                                                                               ent that led to an Evidentiary
  hearing to aJlow both parties to be heard by the Court. It is the prose parties'
                                                                                    position that the resulting
  time and expense incurred by Tagnetics, as stated in their Application for
                                                                               Attorney Fees, to enforce the
  agreement as detailed in the July 26 email were due to negligence by both
                                                                                parties to make sure desired
  terms were captured in the settlement.
  In addition. there is no evidence that there was any hann was caused to Tagneti
                                                                                   cs. In fact, it has
  benefitted Tagnetics as they have not had to pay the initial $90,000 to the
                                                                              pro se parties as promised and
  have successfully delayed the determination by the court of insolvency by
                                                                              almost six months. Because
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        there has been no good faith effort by Tagnetics to settle
                                                                   the remaining issues during   this six month delay,
        we can only believe this was their goal.
       The prose parties respectfully re<iuest the Court not to
                                                                grant Tagnetics' relief of their Attorney fees as
       compensatory damag es. For the reasons set forth above
                                                                 in addition to the fact that Tagne tics' has not
       followed the Court Order of Octob er 25 in good faith.
                                                               In the event the Court does grant all or part of
       Tagnetics' attorney fees as compensatory damages, the prose
                                                                        partie s should not be required to
       compensate Tagnetics' until they follow the Court's order
                                                                    including payment to the prose parties and the
       allotted attorney fees should be distributed over 4 schedu
                                                                  led payments in the same manner as the
       settlement to the pm se parties.
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       ResP,CCtfully1submitted_,.December 16, 20 I9.
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                                         CERTIFICATE OF SERVICE
   I hereby certify that on December 16, 2019, a copy of the foregoing Response to Tagnetics Application
   for Attorney Fees was (i) submitted to the Clerk of the Court at the Courthouse and (ii) electronically by
   email to counsel for Tagnetics, Inc., and (iii) by ordinary US Mail on December 16, 2019 to the Office of
   the United States Trustee.


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